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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: : Chapter 11
ALLIED SYSTEMS HOLDINGS, INC. - Case No, 12-11564 (CSS)
Debtor. ; (Jointly Administered)

 

ALLIED SYSTEMS HOLDING, INC.
Plaintiff,

Vv. : Adv. Proc. No.: 12-50947 (CSS)

AMERICAN MONEY MANAGEMENT :
CORP., AVENUE CAPITAL GROUP, : Adv. Docket No.: 73
BDCM OPPORTUNITY FUND, II, LP,
BENNETT MANAGEMENT, BLACK
DIAMOND CLO 2005-1 LTD., DEL
MAR DISTRESSED OPPORTUNITIES
MASTER FUND, MJX ASSET
MANAGEMENT, LLC, PAR-FOUR
INVESTEMENT MANAGEMENT,
SPECTRUM INVESTMENT PARTNERS:
LP, TEAK HILL - CREDIT CAPITAL
INVESTMENTS, LLC, THE CIT
GROUP/ BUSINESS CREDIT, INC.,

THE OFFICIAL COMMITTEE OF
UNSECURED CREDITORS, YUCAIPA :
AMERICAN ALLIANCE FUND IL, :
L.P. and YUCAIPA AMERICAN :
ALLIANCE (PARALLEL)FUND IL, LP. :

Defendants.

YUCAIPA AMERICAN ALLIANCE

FUND I, L.P., YUCAIPA AMERICAN _ :
ALLIANCE (PARALLEL FUND I, LP., :
YUCAIPA AMERICAN ALLIANCE :
FUND, II, L.P., AND YUCAIPA :
AMERICAN ALLIANCE (PARALLEL) :

 

 
 

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FUND HU, LP.

Counterclaim and
Cross-Claim Plaintiffs,

Vv.
ALLIED SYSTEMS HOLDING, INC.

Counterclaim Defendant. :
and :

AMERICAN MONEY MANAGEMENT :
CORP., AVENUE CAPITAL GROUP,
BDCM OPPORTUNITY FUND IL, LP,
BENNETT MANAGEMENT, BLACK
DIAMOND CLO 2005-1TD., DEL MAR :
DISTRESSED OPPORTUNITIES
MASTER FUND, MJX ASSET
MANAGEMENT, LLC, PAR-FOUR
INVESTMENTS MANAGEMENT,
SPECTRUM INVESTMENT :
PARTNERS LP, TEAK HILL - CREDIT :
CAPITAL INVESTMENTS, LLC, THE :
CIT GROUP/ BUSINESS CREDIT, INC, :
THE OFFICIAL COMMITTEE OF
UNSECURED CREDITORS,

Cross-Claim Defendants.

 

ORDER

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Upon consideration of the Cross-Claim Defendants BDCM Opportunity

Fund II, LP’s Black Diamond CLO 2005-2 Ltd’s and Spectrum Investment

Partners LP’s Motion to Dismiss the Amended Cross Claim in its Entirety [Adv.

Docket No. 73] filed on January 25, 2013; the Court having reviewed the Motion

 
 

 

 

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and the objections thereto; the Court having heard the statements of counsel and
parties in interest regarding the Motion at a hearing before the Court on February
27, 2013 (the “Hearing”); the Court having found that (i) the Court has
jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334, (ii) this is a
core proceeding pursuant to 28 U.S.C. § 157(b)(2), (iti) notice of the Motions and
the Hearing were sufficient notice under the circumstances; and (iv) the Court has
judicial power to enter a final order.

IT IS HEREBY ORDERED THAT, for the reasons set forth on the record at

the hearing, the Motion is granted with prejudice.

VL

Christopher 9. Sontchi
United States Bankruptcy Judge

Date: February 27, 2013

 

 
